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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

GENE P. BONVILLAIN, in his capacity          *   Civ. No. 09-3540
as ASSESSOR for the PARISH OF                *
TERREBONNE, STATE OF LOUISIANA, *                Re: Civ. No. 09-3540
                                             *
               Plaintiff,                    *
                                             *
vs.                                          *
                                             *
LOUISIANA LAND & EXPLORATION                 *
CO., an entity organized under the laws of a *
state other than Louisiana and a wholly      *   Sect. C Mag. 2
owned subsidiary of CONOCOPHILLIPS, *
a Delaware corporation, and DONNA K.         *   Judge Berrigan
LAURENCE, and NANCY DEPAUL,                  *
                                             *   Magistrate Judge Wilkinson
               Defendants.                   *

This filing relates to:     No. 2:09-cv-03540-HGB-JCW
                            Bonvillain v. Louisiana Land & Exploration Co. et al.


                           FIRST AMENDED COMPLAINT


       NOW COMES the Plaintiff, GENE P. BONVILLAIN, in his capacity as Assessor

for the Parish of Terrebonne, State of Louisiana, through counsel, and for this, his amended

complaint for damages and other relief, would state and show as follows:
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                              PARTIES AND JURISDICTION

       1.      Plaintiff Gene B. Bonvillain ("Bonvillain") is the Assessor of the Parish of

Terrebonne, a subordinate local governmental entity of the State of Louisiana.

       2.      Defendant Louisiana Land & Exploration Company ("LL&E") is an entity

organized and having its principal place of business in a state other than Louisiana. LL&E

is a wholly owned subsidiary of ConocoPhillips, a Delaware corporation having its principal

place of business in Texas.

       3.      Defendant Donna K. Laurence ("Laurence") is an individual believed to be a

resident of Texas. Laurence is an employee of LL&E responsible for the preparation and

submission of tax documents, as hereinafter alleged.

       4.      Defendant Nancy DePaul ("DePaul") is an individual believed to be a resident

of Texas. DePaul is an employee of LL&E responsible for the preparation and submission

of tax documents, as hereinafter alleged.

       5.      This is an action for the recovery of delinquent and unpaid taxes and damages

in an amount that far exceeds the jurisdictional minimum amount in controversy that confers

jurisdiction on this Court.

       6.      Jurisdiction is conferred on this Court by virtue of 28 U.S.C. §§ 1331 and 1332

and 18 U.S.C. § 1964(c). A substantial part of the events or omissions giving rise to the

claim occurred in this district, and a substantial part of property that is the subject of the

action is situated in this district.




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                        GENERAL FACTUAL ALLEGATIONS

       7.     Terrebonne Parish is one of the coastal parishes of Louisiana, located on the

Gulf of Mexico ("the Gulf"). Below the surface of the Gulf and within the coastal lowlands

immediately adjacent to the Gulf are located some of the major producing oil and gas fields

in the United States. These oil and gas fields in some cases extend into the Gulf far from the

coastal boundary of the State of Louisiana. For the purposes hereof, the oil and gas fields

to which the allegations of this complaint relate are limited to the fields within the

jurisdiction of the State of Louisiana, extending from the Gulf Coast of Louisiana,

encompassing the areas immediately adjacent thereto ("the Inshore Fields"), to the limit of

its jurisdiction three miles offshore ("the Offshore Fields"). The Inshore and Offshore Fields,

taken together, are mature fields, meaning that the fields have been extensively developed,

and minerals have been extracted from them for many years, and even decades.

       8.     The minerals and natural gas within the Inshore and Offshore Fields are

exploited by a number of oil- and gas-production, exploration, and drilling companies, one

of which is LL&E. Each of the Inshore and Offshore Fields, depending upon its respective

location, is within the jurisdiction of one of the several coastal parishes, such as Terrebonne

Parish. There are approximately 1,546 oil and gas wells and other production facilities

within, inshore, or offshore from Terrebonne Parish, many of which are within the Inshore

or Offshore Fields. LL&E has approximately 147 wells and three production facilities within

Terrebonne Parish, plus others located elsewhere within the jurisdiction of Terrebonne Parish

that may, upon further investigation, become the subject of additional lawsuits.



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       9.     The extraction of minerals and gas from the Inshore and Offshore Fields

requires the use of complex and costly equipment. A well must be drilled to access the

minerals below the surface, the minerals (oil and gas) must be brought to the surface

(sometimes requiring the application of artificial pressure), and then the minerals must be

transported via either pipeline (called a "fee line") or by barge to a production facility, from

which the minerals then are transported to onshore refineries or finishing plants.

       10.    LL&E and the other oil- and gas-production companies, having installed the

necessary equipment, must continuously monitor, and do monitor, the flow of minerals

through the system hereinbefore described.

       11.    The oil- and gas-production companies, including LL&E, are required by law

to pay to the State of Louisiana severance taxes on all minerals and gas extracted and

removed from Louisiana, including from the Inshore and Offshore Fields. The Louisiana

severance taxes are paid based on the volume of minerals and gas that pass through the

valves which measure, meter, and control the flow of minerals. The oil- and gas-production

companies periodically and regularly report the volume of minerals and gas that flow through

the metering devices to the Louisiana Department of Natural Resources for purposes of

assessing the amount of severance tax due and owing by each taxpayer to the State of

Louisiana for a particular time period.

       12.    Until approximately 1998, the regulatory policy of the Louisiana Tax

Commission required that the oil and gas companies report the production of the wells in the

Inshore and Offshore Fields on a well-by-well basis. That is to say, the output for each well



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for each reporting period was measured and reported by the operator of that particular well

to the Louisiana Department of Natural Resources.

          13.   At the urging and insistence of the oil- and gas-production companies and the

trade association representing the independent production companies, the Louisiana

Independent Oil & Gas Association ("LIOGA"), the Louisiana Tax Commission was

persuaded in 1998 or thereabouts to change its policy regarding the measurement and

reporting of oil and gas production from the Inshore and Offshore Fields for purposes of

determining the amount of severance tax due on the production for each period. Instead of

reporting production well by well individually as they had done previously, each operator of

the wells in a particular field (which may, and typically do, contain many wells) instead filed

a "unitary report," which consolidated the reporting of the production of all wells within that

field.

          14.   Under this form of unitary reporting, there was no way to determine whether

the reported production from a particular field was comprised of the production from all,

some, or only one well within that field. Instead, the operator of the wells in a particular field

reported only the gross production from all wells which were producing in that field. Those

wells that have current production are termed "producing wells." Those wells that have no

current production are said to be "shut in." Wells that have a low output of less than 10

barrels of oil or 100 Mcf (100,000,000 cubic feet) of natural gas per day are termed "stripper

wells."




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       15.    By statute, all nonexempt movable and immovable property in Louisiana is

subject to the payment of ad valorem taxes to the parish in which the property is located by

the owners of that property. These taxes are collected by the several parishes in Louisiana

as general revenue for application to those public purposes determined by the governing

authorities of the parishes. These taxes represent a substantial source of revenue for the

parishes.

       16.    The constitutional authority and responsibility for the assessment and collection

of ad valorem taxes is vested in the office of the parish assessor. That officer for the Parish

of Terrebonne is Plaintiff Bonvillain. The collection of taxes is vested in the office of the

sheriff of the Parish of Terrebonne.

       17.    The assessment of ad valorem taxes is premised in the first instance on the fair

market value of the property being assessed. The fair market value of property being

assessed for tax purposes is reduced by a ratable amount or percentage of the fair market

value, the result of which then becomes the assessed value of the property in question. The

rate or percentage applied and used to determine the assessed value of property is established

by an equalized schedule approved by the Louisiana Tax Commission. These various

percentages are applied ratably, depending on the type of property and its location.

       18.    In general, the valuation of property, hence the basis for the assessed tax owed

on property located on dry land, can be and often is determined upon visual inspection by

officers designated for the purpose by the assessor.




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       19.    Visual inspection by the assessors of movable property located inshore or

offshore is generally not feasible, since the assessors have neither the manpower nor the

resources to conduct visual inspections of the thousands of wells and other facilities located

in the Inshore and Offshore Fields. Accordingly, the Louisiana Tax Commission has adopted

a system of self-reporting. The assessed value of oil and gas property, including that property

used to produce oil and gas from the Inshore and Offshore Fields, is determined solely on the

basis of reports filed under oath by the affected oil- and gas-producing companies that own

and operate that equipment. The taxpayers report the value of their equipment and other

movable property, hence their exposure to liability for payment of ad valorem tax, on a form

designated by the Tax Commission as a "LAT12 form."

       20.    Various categories of equipment are reported on particular kinds of LAT12

forms. For example, certain meters are to be reported on Form LAT12-2, whereas a lease

line is to be reported on Form LAT12-4. It is the duty and obligation of the taxpayer to

report the quantities and types of machinery and equipment used in the production and

transmission of oil and gas on the appropriate and correct LAT12 form, since it is on the

basis of the reporting that the percentage rate of taxation or "millage" is calculated. In

addition to all of the other false and materially misleading reporting of property subject to

taxation hereinafter alleged to have been committed by and on behalf of LL&E, LL&E and

those acting on its behalf misleadingly and confusingly failed to report, or incorrectly

reported, property subject to taxation on incorrect LAT12 forms.




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       21.    The LAT12 forms are filed annually under oath by the affected taxpayers with

the Office of the Assessor for the parish in which the taxable property is located. One

LAT12 form, or a group of related LAT12 forms, is filed for each oil and gas field that the

taxpayer operates within the Inshore and Offshore Fields.

       22.    The LAT12 form provides detail whereby the equipment used on each well or

production facility, or to connect each well to a production facility, within a given field is

identified and reported. Each well within that field is (or should be) characterized as

"producing," "shut in," or "stripper," as hereinbefore described.

       23.    The ad valorem tax owed on equipment used to produce and distribute oil and

gas from the Inshore and Offshore Fields is determined as follows. Each item of property

is valued at its fair market value when acquired new at the time that that particular item was

placed in service. The fair market value of all oil- and gas-producing facilities in Louisiana

is reduced by a uniform percentage of 40%, then by a further 15%, to determine the assessed

value of the property. The assessed value of the property is multiplied by a millage rate to

determine the amount of the tax owed for that item of property. Furthermore, for each year

that the item of movable property remains in service, its assessed value is reduced by a

uniform percentage amount to account for depreciation.

       24.    Equipment and machinery used to produce oil and gas in the Inshore and

Offshore Fields typically has a useful life of many years. The acquisition and installation

costs of that equipment are very high, providing an incentive for the operator to maintain and

repair it rather than to replace it. Unless a floor were established for the assessed value of



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the depreciated property for the years it remains in service, eventually the fully depreciated

value of the taxable property would be zero, hence its assessed value would be zero, and no

tax would be assessed and paid for that particular item for that tax year and for all succeeding

tax years, even though the item remains in service, contributing to the production of the well

or production facility with which it is associated.

       25.    Until 2005, as hereinafter alleged, the floor below which the value of the

property in question could not be depreciated was 30% of its original assessed value. In

other words, when a particular item of property was depreciated fully to 30% of its assessed

value, the value of that item could not be depreciated further.

       26.    The foregoing scheme for determining the assessed value of property used in

the Inshore and Offshore Fields applies only to wells that are characterized as "producing."

If a well is characterized as a "stripper" well, then the property associated with that well is

taxed based on a uniform rate of 60% of its assessed value. If the well is characterized as

"shut in," then the property associated with that well is taxed based on a uniform rate of 10%

of its assessed value. Some wells that have been shut in for a lengthy period of time are

characterized as having "no further utility" ("NFU"), and those wells are not taxed at all.

       27.    During late 2004 and early 2005, the oil- and gas-production companies in

Louisiana, through or in concert with LIOGA, urged the Louisiana Tax Commission to

reduce the floor for depreciation from 30% to 20%. This proposal was vigorously opposed

by Plaintiff Bonvillain, since the self-evident result of reducing the depreciation floor would

be to lower the assessed value of a substantial percentage of the oilfield equipment (in many



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cases now fully depreciated) that otherwise would have been taxed based on the higher

depreciation floor of 30%.

         28.   In an effort to persuade the Louisiana Tax Commission of the merits of its

position, LIOGA commissioned a report by Affiliated Tax Consultants ("the ATC Report").

One of the authors of the ATC Report, in a cover letter transmitting a copy of the report to

Plaintiff Bonvillain, stated that "[t]here was no information provided directly by any operator.

The data was taken from one source, the [Louisiana] Department of Natural Resources web

site."

         29.   In reliance on the results of the ATC Report, which was filed with and accepted

by the Louisiana Tax Commission, the Louisiana Tax Commission by regulation reduced the

depreciation floor from 30% to 20%, as urged by LIOGA and the oil-production companies,

despite the opposition of Plaintiff Bonvillain and the other assessors in the affected parishes.

As hereinafter alleged, the ATC Report was false and fraudulent in a number of material

respects.

         30.   It eventually became apparent to Bonvillain that LL&E and certain of the other

oil-production companies operating inshore and offshore in Terrebonne Parish were

fraudulently and falsely underreporting their ad valorem tax liability. LL&E and certain

other of the operators in the parish did so in three material ways, each of which will be

described hereinafter.

         31.   In an effort to determine the true and accurate ad valorem tax liability owed by

LL&E and the other oil-production companies operating in Terrebonne Parish, Bonvillain



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commissioned a comprehensive study of the operations of the those companies from Visual

Lease Services, Inc., of Holdenville, Oklahoma (the "VLS Study"). The VLS Study involves

physical inspection of all 1,546 wells and all production facilities located within Terrebonne

Parish during 2008 and 2009. The VLS Study has thus far uncovered vast and pervasive

underreporting and false reporting of tax liability by LL&E and certain of the other oil-

production companies in the following respects.

       32.    The fair market value on a replacement-cost-new-less-depreciation basis (as

determined by the valuation established by the Louisiana Rules and Regulations Less

Depreciation ("LaRRLD") method, which will be used hereinafter) of much of the property

that was reported by LL&E as being in service was underreported by a substantial amount.

For example, in the Inshore Field known as Caillou Island (comprised of 128 wells), the

operator reported nonexempt property having a depreciated value of $26,434,080, when in

fact that same property at that location had an actual depreciated value of $50,474,371.

       33.    Some property owned by LL&E and that was in service at the Inshore Field

known as Pass Des Ilettes during the tax years 1998-2008 was not reported at all. The VLS

Study identified property having a fully depreciated value of $76,268,738.98 that had not

been reported by the operator at all for the tax years 1998 through 2008, inclusive.

       34.    Some property owned by LL&E and that was in service at the Inshore Field

known as Pass Wilson during the tax years 1998 through 2008 was not reported at all. The

VLS Study identified property having a fully depreciated value of $6,541,875.73 that had not

been reported by the operator at all for the tax years 1998 through 2008, inclusive.



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       35.    Some property owned by LL&E and that was in service at the Inshore Field

known as Caillou Island during the tax years 1998 through 2008 was not reported at all. The

VLS Study identified property having a fully depreciated value of $3,560,515.94 that had not

been reported by the operator at all for the tax years 1998 through 2008, inclusive.

       36.    Some property owned by LL&E and that was in service at the Inshore Field

known as Four Isle Dome during the tax years 1998 through 2008 was not reported at all.

The VLS Study identified property having a fully depreciated value of $12,495,764.23 that

had not been reported by the operator at all for the tax years 1998 through 2008, inclusive.

       37.    Plaintiff is reliably informed and, on the basis of that information, alleges that

LL&E had other and additional property in service at other fields during the tax years 1998

through 2008 that was also not reported. When and as investigation develops the nature,

amount, and assessed value of that other property not reported, this complaint will be

amended to allege those amounts.

       38.    By way of illustration of the nature of property that was not reported by LL&E

were photographic images of the property taken in 2009 that were included in the original

complaint filed in this matter. Those images, by this reference, are incorporated herein.

       39.    In addition, LL&E reported wells as being "shut in" when, in fact, those wells

were producing. For example and by way of illustration, the well at Four Isle Dome

identified as well serial number 221795 was reported to the Assessor of Terrebonne Parish

as being "shut in" in 2006 and 2007, while for the same period that same well was reported

elsewhere and for other purposes as being "producing," thus reducing materially the amount



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of ad valorem tax that should have been paid with respect to the equipment used for that well.

The well continues to be producing. Reproduced below are images taken in 2009 of well

serial number 221795 that was reported by LL&E as being "shut in" when in fact that well

was producing during that same period of time. By way of further identification, illustrative

images of the mischaracterized property were included in the original complaint filed in this

matter. Those images, by this reference, are incorporated herein.

       40.     The cumulative effect of the false, fraudulent, and materially misleading

underreporting, nonreporting, and misreporting of taxable property by LL&E to the Assessor

of Terrebonne Parish is for LL&E and certain other oil- and gas-production companies

operating in Terrebonne Parish to have underpaid the ad valorem tax due by many millions

of dollars. Plaintiff is reliably informed and, on the basis of that information, alleges that the

foregoing false, fraudulent, and materially misleading practice of self-reporting the value of

property for purposes of assessing ad valorem tax liability by LL&E has been ongoing and

continuous for at least the 10 years next preceding the date hereof and, in many instances,

for much longer.

       41.     At no time prior to the date hereof has Defendant filed a revised, amended, or

corrected LAT12 form for any of the tax years material hereto.



                 COUNT I: RECOVERY OF DELINQUENT TAXES
                              (Versus LL&E)

       42.     The allegations of ¶¶ 1-41 are realleged as if repeated verbatim.




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       43.    At all times material to the allegations of this complaint, Plaintiff Bonvillain

was and still is the duly qualified, elected, and acting Assessor of Terrebonne Parish,

Louisiana, having the authority under LSA-R.S. §§ 47:5 and 47:1903 to assess for collection

lawful taxes for Terrebonne Parish, Louisiana.

       44.    At all times material to the allegations of this complaint, LL&E owned

movable property for the production of oil and gas located within the taxing jurisdiction of

Terrebonne Parish and, more particularly, within the following Inshore Fields:

       a.     Pass Wilson;

       b.     Caillou Island;

       c.     Four Isle Dome;

       d.     Pass Des Ilettes; and

       e.     Other fields that will be identified by amendment hereto.

       45.    Plaintiff Bonvillain or his predecessor in office caused to be placed on the

assessment rolls of Terrebonne Parish movable property within the foregoing fields and

assessed the property for purposes of taxation pursuant to the LAT12 self-reporting forms

submitted under oath by LL&E for the tax years 1998 through 2008, inclusive. Attached to

the original complaint in this matter and marked Exhibit A was a LAT12 form for the year

2008, which is illustrative of each and all other LAT12 forms submitted by or on behalf of

LL&E for the years at issue. By this reference, Exhibit A is incorporated herein.

       46.    The LAT12 self-reporting tax forms, as hereinbefore alleged, require the

taxpayer to report under oath fully, completely, and accurately all movable oil- and gas-



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production property that is subject to tax and that is owned by the taxpayer and the true and

accurate assessed value thereof.

       47.    Subsequently, and based on the foregoing self-reporting assessments by LL&E,

Plaintiff Bonvillain levied taxes against Defendant's property for the years 1998 through

2008, inclusive. In accordance with his customary practice, from and after about March 1

of each succeeding year, the Sheriff of Terrebonne Parish sent a written tax bill for the taxes

to LL&E. Each bill included a demand that LL&E pay the taxes specified therein on or

before a stipulated date of the current tax year and of each succeeding year through 2008,

inclusive.

       48.    Not until after an investigation was recently initiated was it determined by

Plaintiff that LL&E has been falsely and fraudulently underreporting, misreporting, or failing

to report the ownership of movable property and/or the assessed value of property within

Terrebonne Parish subject to the assessment and payment of ad valorem taxes having a value

far in excess of the assessed value reported to Terrebonne Parish for at least the years 1998

through 2008, inclusive, and beginning perhaps earlier. While investigation to determine the

amount of tax owed by Defendant remains ongoing, Plaintiff has thus far determined that

Defendant has evaded payment of ad valorem taxes in an amount of not less than $3.5

million, exclusive of interest, penalties, and costs of collection.

       49.    In addition to operating within the fields known as Pass Wilson, Caillou Island,

Four Isle Dome, and Pass Des Ilettes, LL&E operates within other and additional fields

within Terrebonne Parish. Plaintiff is reliably informed and, on the basis of that information,



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alleges that in addition to LL&E's fraudulent underreporting, nonreporting, and misreporting

the nature and extent of its property subject to ad valorem taxation in those named fields, the

foregoing pattern and practice of fraudulent underreporting, nonreporting, and misreporting

the nature and extent of its property subject to ad valorem taxation by LL&E is systematic

within the other fields in Terrebonne Parish in which LL&E operates. When and as further

investigation develops with respect to those other fields, this complaint will be amended to

allege the further and additional liability to which LL&E is exposed for ad valorem taxation

of movable property within those fields.

       50.    In addition to any and all other remedies available to Plaintiff, Defendant shall

be liable for payment of penalties as provided for in LSA-R.S. § 47:2330 for having willfully

underreported its tax liability as hereinbefore alleged.

       51.    LL&E's failure to pay the taxes of at least $3.5 million, or such other amount

as may be determined upon further investigation, caused Defendant to become indebted to

Terrebonne Parish for a penalty fee, plus interest until the tax is paid.

       WHEREFORE, Plaintiff demands that judgment be entered in his favor and against

LL&E on Count I and that Plaintiff be awarded the following:

       a.     The amount of tax due in the amount of not less than $3.5 million, or such

              other amount as investigation may determine, with interest on that amount as

              allowed by LSA-C.C.P. art. 1921, from and after 1998 to the date of judgment

              in this action;

       b.     A penalty fee in an amount to be determined upon a trial of this cause;



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       c.     Costs of this action; and

       d.     Such other and further relief as the Court deems just and proper.



                               COUNT II: CIVIL RICO
                             (Versus Laurence and DePaul)

       52.    The allegations of ¶¶ 1-51 are realleged as if repeated verbatim.

       53.    LL&E is an "enterprise" within the meaning of § 1961(4) of the Racketeer

Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. §§ 1961-1968. LL&E is a

corporate entity that at all relevant times possessed and continues to possess an ongoing

organizational structure. LL&E functioned continuously as an oil and gas company during

the relevant time period and continues to so function.

       54.    At all relevant times and currently, LL&E was and is engaged in, and its

activities have affected and continue to affect, interstate and foreign commerce. For

example, LL&E produces oil and gas from fields in Louisiana that is thereafter transmitted

and sold as refined products, such as gasoline and diesel fuel, throughout the United States.

       55.    Laurence and DePaul were at all times relevant to this action, and still are,

RICO "persons" within the meaning of 18 U.S.C. § 1961(3).

       56.    Laurence and DePaul were and are employed by LL&E as the persons

responsible for the preparation and submission of tax documents on behalf of LL&E; they,

acting in concert, conducted and participated in, and continue to conduct and participate in,

the conduct of LL&E's affairs through a pattern of racketeering activity in violation of 18

U.S.C. § 1962(c).


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       57.    In particular, Laurence and DePaul engaged in the above-described scheme to

defraud the Parish of Terrebonne of tax revenues that it was lawfully entitled to collect.

       58.    Laurence and DePaul engaged in conduct in violation of 18 U.S.C. § 1341 by

causing to be mailed various documents for the purpose of carrying out this scheme to

defraud. Relevant acts of mail fraud include the mailing of the following false and

fraudulent LAT12 forms to Plaintiff, in his capacity as Assessor for the Parish of Terrebonne:

       a.     LAT12 2008 Four Isle Dome signed by Donna K. Laurence 3/28/08;

       b.     LAT12 2007 Four Isle Dome signed by Nancy DePaul 3/22/07;

       c.     LAT12 2007 Four Isle Dome signed by Nancy DePaul 5/23/07;

       d.     LAT12 2006 Four Isle Dome signed by Nancy DePaul 3/28/06;

       e.     LAT12 2008 Pass Wilson signed by Donna K. Laurence 3/28/08;

       f.     LAT12 2007 Pass Wilson signed by Nancy DePaul 5/23/07;

       g.     LAT12 2007 Pass Wilson signed by Nancy DePaul 3/22/07;

       h.     LAT12 2006 Pass Wilson signed by Nancy DePaul 3/28/06;

       i.     LAT12 2005 Salt Bay signed by Nancy DePaul 3/24/05;

       j.     LAT12 2005 Lake Raccourci signed by Nancy DePaul 3/24/05;

       k.     LAT12 2005 Pass Wilson signed by Nancy DePaul 3/24/05;

       l.     LAT12 2005 West Deer Island signed by Nancy DePaul 3/24/05;

       m.     LAT12 2005 Pass Des Ilettes signed by Nancy DePaul 3/24/05;

       n.     LAT12 2005 Caillou Island signed by Nancy DePaul 3/24/05;

       o.     LAT12 2005 Four Isle Dome signed by Nancy DePaul 3/24/05;



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       p.     LAT12 2005 Four Isle Dome signed by Nancy DePaul 3/24/05;

       q.     LAT12 2005 Salt Bay signed by Nancy DePaul 3/24/05;

       r.     LAT12 2005 Lake Raccourci signed by Nancy DePaul 3/24/05;

       s.     LAT12 2005 West Deer Island signed by Nancy DePaul 3/24/05;

       t.     LAT12 2005 West Deer Island signed by Nancy DePaul 3/24/05;

       u.     LAT12 2005 Pass Des Ilettes signed by Nancy DePaul 3/24/05;

       v.     LAT12 2005 Caillou Island signed by Nancy DePaul 3/24/05.

       59.    The acts of mail fraud perpetrated by Laurence and DePaul constitute a "pattern

of racketeering activity" within the meaning of 18 U.S.C. § 1961(5) in that there were two

or more acts of racketeering activity, all of which occurred after the effective date of RICO,

and the last of which occurred within 10 years after the commission of a prior act of

racketeering activity.

       60.    The acts of racketeering activity alleged above have sufficient continuity to

constitute a pattern of racketeering activity in that they have been practiced by Laurence and

DePaul over a period of at least 10 years as part of the scheme to defraud Terrebonne Parish

of tax revenues. Moreover, Laurence and DePaul, directly or through the instrumentality of

ConocoPhillips, continue to engage in acts of racketeering activity as part of their ongoing

scheme to perpetuate a fraud on Terrebonne Parish. Indeed, but for the recent VLS Study

and the commencement of this action, there is no reason to believe that the scheme would not

have continued indefinitely. As such, Laurence's and DePaul's conduct projects into the

future with a threat of repetition.



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          61.   The acts of racketeering activity alleged above are also related in that they have

the same purpose, results, participants, victim, and methods of commission and are not

isolated events. The wrongful acts are all part of a series of connected criminal racketeering

activities perpetrated by Laurence as part of her ongoing scheme to defraud Terrebonne

Parish.

          62.   The acts of racketeering activity have occurred in the Eastern District of

Louisiana and elsewhere.

          63.   Laurence's and DePaul's violations of 18 U.S.C. § 1962(c) have proximately

caused Terrebonne Parish great injury and harm in that it has been defrauded of not less than

$3.5 million in tax revenues as a result of the pattern of racketeering activity.

          64.   As such, Terrebonne Parish was and is being injured in its business and

property by reason of Laurence's and DePaul's violations of 18 U.S.C. § 1962(c) and is

entitled to recover threefold the damages it has sustained and the cost of this suit, including

a reasonable attorney's fee.

          65.   As part of their scheme to avoid the payment of taxes to Terrebonne Parish,

Laurence and DePaul concealed their activities from Plaintiff. In light of the adoption of the

self-reporting system based on the difficulty of visually inspecting the offshore and inshore

property that is the subject of the taxpayer's self-reporting, Plaintiff did not know of, and had

no way of knowing of, the injury suffered by Terrebonne Parish as a result of Laurence's and

DePaul's fraudulent conduct until the recent conclusion of the VLS Study.




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       WHEREFORE, Plaintiff demands that judgment be entered in his favor and against

Laurence and DePaul, jointly and severally, on Count II and that Plaintiff be awarded the

following:

       a.     Threefold the amount of damages suffered as a result of Laurence's RICO

              violations, the specific amount of such damages to be proven at trial;

       b.     Costs of this action, including a reasonable attorney's fee; and

       c.     Such other and further relief as the Court deems just and proper.



                                  COUNT III: FRAUD
                              (Versus LL&E and Laurence)

       66.    The allegations of ¶¶ 1-65 are realleged as if repeated verbatim.

       67.    From and after about 1998 and continuing until the present, LL&E was doing

business and owned taxable property in Terrebonne Parish, rendering it liable for the

payment of ad valorem taxes to Terrebonne Parish, as alleged hereinbefore, pursuant to

Subtitle III of Title 47 of the Revised Statutes of Louisiana.

       68.    LL&E is required by law to file or cause to be filed under oath with Plaintiff

true, complete, accurate, and correct tax reporting information pursuant to the LAT12 forms,

as hereinbefore alleged.

       69.    Laurence, Depaul, and those acting in concert with them caused LL&E to

submit LAT12 forms under oath for each of the relevant reporting periods from and after

1998 until 2008, inclusive.




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       70.    Plaintiff reasonably relied upon the information submitted under oath by LL&E

pursuant to each and every one of the LAT12 forms filed for the relevant reporting periods

from and after 1998 until 2008, inclusive, to assess the taxes owed by LL&E for the tax

reporting periods 1998 through 2008.

       71.    Instead of LL&E's reporting the foregoing tax information truthfully and

accurately, as it is required by law to do, Laurence, DePaul, and those acting in concert with

them, caused LL&E instead to file LAT12 forms for the reporting periods from and after

1998 until 2008 that were false and materially misleading in the following respects:

       a.     The fair market value on a replacement-cost-new-less-depreciation basis of

              much of the property that was reported by LL&E as being in service was

              underreported by a substantial amount;

       b.     Substantial amounts, by number and value, of movable property that was

              eligible for calculation and payment of ad valorem taxes were not reported at

              all; and

       c.     Some wells reported as being shut in were in fact producing minerals, thus

              underreporting with respect to those wells the amount and value of movable

              property that was eligible for calculation and payment of ad valorem taxes.

The precise items and amounts, and the value thereof, of unreported, underreported, and

falsely reported property and the particular LAT12 forms on which that information was

falsely and fraudulently reported are the subjects of further investigation by Plaintiff, the

results of which will be supplied to Defendants during discovery.



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       72.    The foregoing underreporting of the value of movable property to Terrebonne

Parish by LL&E was done with the intent to deceive Plaintiff and thus to reduce the exposure

of LL&E to liability for the lawful payment of ad valorem taxes.

       73.    As a direct and proximate result of the foregoing false and materially

misleading reporting of its property that was eligible for calculating its liability for the

payment of ad valorem taxes to Terrebonne Parish, LL&E underreported its tax liability in

an amount to be determined upon a trial of this cause, but it is believed by Plaintiff at the

present time, and subject to further investigation, that the amount is in excess of $3.5 million.

       74.    As part of the scheme to avoid the payment of taxes to Terrebonne Parish,

LL&E, DePaul, and Laurence concealed their activities from Plaintiff. In light of the

adoption of the self-reporting system based on the difficulty of visually inspecting the inshore

and offshore property that is the subject of the taxpayer's self-reporting, Plaintiff did not

know, and had no way of knowing, of the injury suffered by Terrebonne Parish as a result

of Defendants' fraudulent conduct until the recent initiation of the VLS Study.

       WHEREFORE, Plaintiff demands that judgment be entered in his favor and against

LL&E, DePaul, and Laurence, jointly and severally, on Count III and that Plaintiff be

awarded the following:

       a.     Compensatory damages in the nature of unpaid taxes that should have been

              assessed and paid absent Defendants' fraudulent and false underreporting,

              nonreporting, and false reporting of LL&E's tax liability owed to Plaintiff, the

              specific amount of such damages to be proven at trial;



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  b.     Costs of this action, including a reasonable attorney's fee; and

  c.     Such other and further relief as the Court deems just and proper.

  Plaintiff demands that all issues so triable be tried to a jury.

                                       Respectfully submitted,

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